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                      Exhibit 17
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                                                                              Review

     1              UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
     2                    EASTERN DIVISION
     3    IN RE: NATIONAL             )    MDL No. 2804
          PRESCRIPTION OPIATE         )
     4    LITIGATION                  )    Case No.
                                      )    1:17-MD-2804
     5                                )
          THIS DOCUMENT RELATES TO    )    Hon. Dan A.
     6    ALL CASES                   )    Polster
                                      )
     7
     8
     9                               __ __ __
    10                         Sunday, May 5, 2019
                                     __ __ __
    11
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    12                  CONFIDENTIALITY REVIEW
                               __ __ __
    13
    14
    15
    16            Videotaped Deposition of MEREDITH B.
            ROSENTHAL, Ph.D., VOLUME 2, held at Robins
    17      Kaplan LLP, 800 Boylston Street, Suite 2500,
            Boston, Massachusetts, commencing at
    18      8:04 a.m., on the above date, before
            Michael E. Miller, Fellow of the Academy of
    19      Professional Reporters, Registered Diplomate
            Reporter, Certified Realtime Reporter and
    20      Notary Public.
    21
    22
    23                            __ __ __
    24                   GOLKOW LITIGATION SERVICES
                      877.370.3377 ph | fax 917.591.5672
    25                        deps@golkow.com

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    1   detailing versus the period right before         1   of does the detail generate more MMEs.
    2   generic entry?                                   2             So for my purposes, I really
    3        A. My model is an aggregate model,          3   only want to understand does the detail
    4   so I'm looking across drugs in the entire        4   generate more MMEs. And again, because I'm
    5   market, and those drugs are at different         5   looking at the aggregate, the fact that some
    6   stages in their life cycle. And so the           6   drugs are ending and others are beginning,
    7   important input to my model is the level of      7   that -- that sort of -- that mix, it may
    8   detailing, not where it is in the course of a    8   change a little bit over time, but I'll be
    9   product's life cycle.                            9   looking across a set of drugs at different
   10            But we know that the bolus of          10   stages.
   11   detailing happens for these new products, and   11       Q. Okay. But what I described
   12   so that is incorporated into the data.          12   might be relevant to the question of whether
   13        Q. So it's incorporated in the             13   the detailing was lawful, correct?
   14   sense that you'll see more contact at the       14       A. I don't know what you mean by
   15   beginning of the life cycle than at the end     15   that.
   16   of the life cycle?                              16       Q. Right. So we've established
   17        A. That's correct.                         17   this, I think, but just to try it one more
   18        Q. But the detailing that happens          18   time: Because your model is just focusing on
   19   at the beginning of the life cycle could be     19   whether detailing impacts the aggregate
   20   qualitatively different than the detailing      20   number of MMEs, you don't evaluate any
   21   that happens at the end of the branded life     21   qualitative difference in the kind of
   22   cycle.                                          22   detailing that is occurring?
   23            Would you agree with that?             23             MR. SOBOL: Objection, asked
   24            MR. SOBOL: Objection.                  24       and answered.
   25        A. I don't know that to be true.           25             ///
                                             Page 203                                           Page 205
    1   BY MR. ROTH:                                     1   BY MR. ROTH:
    2       Q. As an economist, I mean, when a           2       Q. Is that a fair statement?
    3   product is launched, you would expect more       3            MR. SOBOL: Asked and answered.
    4   detailing about clinical studies and things      4       A. I -- you had a "because" at the
    5   designed to promote a new product that           5   beginning of that sentence, which doesn't
    6   physicians might be unaware of, right?           6   make sense to me. I am not looking at the
    7       A. It may be that there is more of           7   content of the detailing as we talked about
    8   that sort of baseline information at the         8   this morning. I am assuming the plaintiffs
    9   beginning.                                       9   will prove their case.
   10       Q. Right. And at the end of a               10            I understand that you think
   11   product's life cycle, when the generics are     11   differently and you're trying to probe
   12   about to come on the market, you might expect   12   whether I've tried to disaggregate the
   13   the detailing to focus more on things like      13   detailing.
   14   price and availability and formulary status     14            I have not tried to
   15   and things of that nature, right?               15   disaggregate the detailing by drug or over
   16       A. I have seen no detailing                 16   time. It is possible to do that, but I have
   17   information that pertains to price. I can't     17   not done that.
   18   say that it never happens, but I've certainly   18   BY MR. ROTH:
   19   never seen that.                                19       Q. So in your direct model, just
   20            What that sort of -- what              20   like all MMEs are created equal, all
   21   you've just described here is on the one hand   21   detailing contacts are created equal?
   22   saying, hey, there's this new drug early on,    22            MR. SOBOL: Objection.
   23   and don't forgot your old friend at the end,    23       A. Again, I would acknowledge that
   24   something to that effect. Those -- those        24   there's variation in detailing and that my
   25   differences are not relevant to the question    25   model captures the average effect.
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    1   BY MR. ROTH:                                     1             When you say that rivalrous
    2        Q. And it captures the average              2   marketing is a noneffect, what you mean is
    3   effect by treating each contact the same?        3   you don't assess whether the marketing was
    4             MR. SOBOL: Objection.                  4   rivalrous or not, because in either case,
    5        A. Well, I guess sort of an                 5   your view is it will potentially lead to
    6   average effect means that sort of                6   increased MMEs, so it gets counted?
    7   tautologically, I'm summing up all of the        7             MR. SOBOL: Objection, form,
    8   effects.                                         8        asked and answered.
    9   BY MR. ROTH:                                     9        A. I am interested only in a
   10        Q. Does your model account for             10   particular kind of impact, and that impact is
   11   rivalrous marketing?                            11   an increase in the number of MMEs. If there
   12        A. I'm so happy that we've gotten          12   is marketing that changes the drug people
   13   back to this.                                   13   take without affecting their MMEs, then I
   14             MR. SOBOL: That makes one of          14   ignore that.
   15        us.                                        15             Let's just say there's unlawful
   16        A. The aggregate model that I put          16   conduct and you earn money off of it, but
   17   forth is intended to essentially obscure the    17   it's really only because you've switched
   18   rivalrous marketing, so to the extent that      18   brands. That, I'm not counting, so that's a
   19   marketing only moves people from hydrocodone    19   kind of rivalrous marketing effect that's not
   20   to oxycodone or the other direction, whatever   20   being counted in my impact assessment.
   21   it is, that will show up as a noneffect in my   21             I'm only concerned about market
   22   model.                                          22   expansion by definition. Economists can be
   23             So I'm only looking at market         23   interested in both of those things, but for
   24   expansion because the question I care about     24   my purpose, I'm only interested in market
   25   is market expansion.                            25   expansion.
                                             Page 207                                            Page 209
    1   BY MR. ROTH:                                     1   BY MR. ROTH:
    2        Q. I'm not sure I followed your             2       Q. I'm just trying to understand
    3   answer. So how does it show up as a              3   functionally how that happens.
    4   noneffect if you're including that contact in    4            So the reason you're saying
    5   your regression analysis, whether it was new     5   that is because you're only looking at the
    6   drug promotion or rivalrous marketing?           6   delta, the change in MMEs, and so if there's
    7        A. I think the way you're looking           7   no change, then the rivalrous marketing
    8   at rivalrous marketing is a bit different        8   doesn't get counted? I'm just struggling
    9   than the way I would look at it. And this        9   with the mechanics.
   10   goes back to a conversation we had before       10       A. Sure. Let me try to explain.
   11   where I think there was a little bit of a       11            If we had two drugs in the
   12   disconnect.                                     12   market and we looked at their marketing
   13            So it may well be that you go          13   separately, we could ascertain whether your
   14   to the detail and what you want to talk about   14   marketing increases your sales, right, and --
   15   is why you're better than the other guy. But    15   and then what we wouldn't know is, is that
   16   still, what happens is you actually increase    16   increase coming from new patients, or is it
   17   the use of any product in this class.           17   coming from the decrease in someone else's
   18            So what I'm concerned about is         18   sales. So we could use a system kind of
   19   not the intent of the marketing but the         19   analysis to show what's happening.
   20   effect of the marketing. You seem focused on    20            So people have done this in
   21   the intent.                                     21   prescription drugs. I know you've spent some
   22        Q. I do. But now I think you've            22   time with the literature, and they're curious
   23   helped me, and your answer is actually the      23   about when you increase your sales, does it
   24   opposite of what I understood it to be          24   come at someone else's expense or are you
   25   before.                                         25   just growing the market. And in different
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    1   drug classes, those two things seem to           1   turning points is that they -- that is
    2   operate differently.                             2   incorporating these many different events and
    3             But if you were to add those           3   tactics.
    4   two drugs together and say, okay, for any        4       Q. So the unbranded marketing is
    5   herpes treatment, what's the total effect of     5   captured by the way you do the breaks and the
    6   marketing? Then what you would get is only       6   way you test for these five events in
    7   the market expansion effect. You would wash      7   Model C, correct?
    8   out any of the market stealing because your      8       A. That's correct.
    9   gain is my loss. And so those two things         9       Q. But the unbranded marketing is
   10   would net out and you'd only get the net        10   not captured in the detailing contacts you
   11   result. So that's what I'm doing here.          11   use for your stock of promotion?
   12        Q. So the mechanics are because            12       A. That's correct.
   13   it's an aggregate model that's aggregating      13       Q. How does your model account for
   14   all contacts and aggregating all scripts, it    14   the peer-to-peer marketing that I think you
   15   comes out in the wash if it's rivalrous?        15   or Dr. Perri describes as a contagion
   16        A. Exactly. Rivalrous, again, my           16   phenomenon in paragraph 25?
   17   definition of rivalrous is my sales come from   17       A. Yeah. So that phenomenon will
   18   you and that those two things fully offset.     18   get picked up in marketing effectiveness,
   19        Q. Okay. But the detail itself is          19   because again, we're looking at aggregate
   20   still counted in the model, because you're      20   prescribing and not just the prescribing of
   21   not actually looking substantively at the       21   the targeted physicians.
   22   detail to determine what happened?              22            So, you know, as -- we can go
   23             MR. SOBOL: Objection.                 23   back to our favorite paper by Datta and Dave,
   24        A. That is correct. The detail is          24   they're looking at individual physicians.
   25   still in the model, and where the rivalrous     25            It could well be, of course,
                                             Page 211                                             Page 213
    1   piece shows up is that it dampens the            1   detailing physician A causes physician B's
    2   effectiveness of marketing that we measure.      2   prescribing to increase; they're not really
    3   BY MR. ROTH:                                     3   looking at that because they're only looking
    4       Q. Okay. We're finally on the                4   within physician. But we, for the same
    5   same page then.                                  5   reasons that I can capture market expansion
    6            How does your model account for         6   appropriately, aggregating up across doctors
    7   unbranded marketing?                             7   here allows me to capture that contagion
    8       A. Well, in two ways. In Model C,            8   effect.
    9   I explicitly put in some of those events. We     9       Q. We do agree, though, that at an
   10   can look at exactly which ones they are.        10   individual prescriber, individual detail
   11       Q. I was saving this for later,             11   visit level, there could be variation in the
   12   but we can --                                   12   impact that visit has?
   13       A. I know, it sounds like an                13       A. There may be variation in the
   14   after-lunch conversation, but the consensus     14   impact of detailing on an individual
   15   statement from the American Academy of Pain     15   prescriber and her network and my model will
   16   Management and the American Pain Society, the   16   average that, will generate a result that
   17   Federation of State Medical Boards              17   captures the average.
   18   Guidelines, the JCAHO pain standards            18       Q. And we talked a little bit
   19   released.                                       19   earlier about some of the variability in the
   20            So these, I understand that            20   way detailing occurs. I think I used the
   21   plaintiffs intend to prove they were            21   pizza example.
   22   manipulated by the defendants. So I put         22            Do you remember that?
   23   those explicitly in Model C.                    23       A. I remember pizza.
   24            And then as I describe Model B         24       Q. Okay. I want to come back to
   25   and my rationale and the way I interpret the    25   that for a minute maybe because it's

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    1   lunchtime.                                       1   mean by simply. I think we're getting into a
    2            Not every detail visit occurs           2   question about what and how will be proven to
    3   the same way in terms of time spent and what     3   be unlawful. And if the question is was
    4   is disseminated from the pharmaceutical sales    4   certain information omitted, then the fact
    5   representative to the doctor, correct?           5   that the information that was provided was in
    6            MR. SOBOL: Objection, asked             6   some way not challenged, to me, seems like it
    7       and answered.                                7   could still be a problem.
    8       A. I would not disagree that                 8             But the larger issue is that I
    9   details can be different day of the week,        9   think it's not appropriate to try to pull
   10   whether there's food involved, how much time.   10   these detail visits off one at a time. If
   11   BY MR. ROTH:                                    11   there was some messaging around the utility
   12       Q. And frankly, who is detailed,            12   of treating patients with opioids at an
   13   because it could be a prescribing doctor or     13   earlier visit and these later visits are just
   14   it could be a nurse practitioner, it could be   14   reminder visits, again, I'm not -- I'm not
   15   some other healthcare professional in the       15   trying to prove liability here, but to me as
   16   doctor's office, right?                         16   an economist, it seems like they could well
   17       A. Yes, that's correct.                     17   be connected.
   18       Q. And does the IQVIA data you've           18   BY MR. ROTH:
   19   looked at distinguish between the target of     19       Q. And they all count the same way
   20   the detail?                                     20   as the average?
   21       A. It distinguishes between                 21       A. All -- all details in my data
   22   office-based and hospital-based physicians,     22   are included in the right-hand side, and they
   23   but it does not distinguish by licensure as     23   produce an average effect, and then I back
   24   you've just described.                          24   out those particular ones deemed unlawful.
   25            And again, what I'm interested         25       Q. And similarly, if the detail is
                                             Page 215                                            Page 217
    1   in is the aggregate impact, and therefore,       1   corrective messaging designed to dampen the
    2   the average across that variation is             2   effects of some prior materials that FDA has
    3   appropriately subsumed in my analysis.           3   issued a warning letter on, those detail
    4        Q. Right. And because you used              4   visits get picked up by your data as well?
    5   the average, whether the sales rep makes         5            MR. SOBOL: Objection.
    6   contact with the prescribing doctor and          6       A. I think you need to understand
    7   spends 15 minutes discussing the virtues of      7   what the regression is doing. It is not just
    8   opioids or whether the sales rep quickly         8   saying sales are strictly promotional to
    9   speaks to a nurse practitioner to leave the      9   detailing. It's trying to look at that
   10   coffee mug will get treated the same as an      10   effect, and, in fact, in the last period of
   11   average in your model?                          11   my three-period model, the effective
   12        A. Yes. And that is appropriate            12   promotion is declining.
   13   if you're interested in the aggregate effect.   13            To the extent that there's
   14   If I were interested in comparing the           14   corrective messaging, that may be one of the
   15   difference between a detail with pizza versus   15   factors that is decreasing the effectiveness
   16   a detail without pizza, then I would want to    16   of promotion, and so there are not MMEs
   17   look at them. But I'm only interested in the    17   assigned to have been produced by that
   18   aggregate effect.                               18   detail.
   19        Q. Are you aware that detailing            19   BY MR. ROTH:
   20   could be limited to simply providing            20       Q. Let me just ask a simpler
   21   literature that contains information            21   question: Yes or no, are details that are
   22   contained in the package insert or approved     22   simply designed to provide corrective
   23   by the FDA in promotional materials?            23   messaging included in your stock of
   24            MR. SOBOL: Objection.                  24   promotion?
   25        A. I'm not exactly sure what you           25            MR. SOBOL: Objection, asked
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    1       and answered.                                1       A. I am, as we've noted earlier,
    2       A. I really have no idea about               2   operating on the assumption that the
    3   whether such details exist. My model             3   defendants' conduct during the relevant
    4   includes all detailing over the period from      4   period was unlawful, and my model uses a
    5   1995 to 2018 based on the instruction that I     5   single measure of detailing and therefore
    6   was given to consider that unlawful.             6   averages across allegedly lawful and unlawful
    7   BY MR. ROTH:                                     7   details.
    8       Q. Okay. Without distinguishing              8   BY MR. ROTH:
    9   between the quality or extent of those           9       Q. Let's look back at Datta and
   10   detailing visits?                               10   Dave because you asked to.
   11            MR. SOBOL: Objection, asked            11       A. Okay.
   12       and answered.                               12       Q. It's Exhibit 5, for the record,
   13       A. I do not distinguish among               13   and I -- can you turn with me to page 454.
   14   those details, no.                              14       A. Okay.
   15   BY MR. ROTH:                                    15       Q. So at the top of the page it
   16       Q. And I think we talked about              16   says: Thus, detailing plays a role in
   17   this, but I'm not sure.                         17   educating providers about newer drugs and
   18            You don't differentiate between        18   their attributes and may have information
   19   which physician practice groups were targeted   19   value early in a product's life cycle,
   20   by the details in your model?                   20   whereas later in the life cycle, its role can
   21            MR. SOBOL: Objection, asked            21   be predominantly persuasive and chiefly
   22       and answered.                               22   relegated to delivering samples and
   23       A. As I noted, my detailing                 23   reminders.
   24   measure is national. It's aggregate. It         24             Do you see that?
   25   does not distinguish at a level below that.     25       A. I do.
                                             Page 219                                             Page 221
    1   BY MR. ROTH:                                     1       Q. And then at the end of the
    2       Q. Do you have any view as to              2     paragraph, they say: Because detailing can
    3   whether allegedly deceptive marketing is more 3      affect both selective (brand centric) and
    4   impactful than truthful marketing?             4     primary (market) demand under these views --
    5       A. I think I do discuss this in my         5     citation to Dave and Kelly, 2014 -- the
    6   report, and there's an economic theory         6     question cannot be resolved based on theory
    7   related to the profitability of fraud and      7     alone, and empirical evidence needs to bear
    8   some evidence from other sectors that suggest 8      upon the question.
    9   that for something unlawful to be undertaken   9              Do you see that?
   10   when lawful activities are possible, that it  10         A. Yes. Just to be clear, what
   11   must be more profitable because there's some 11      they're talking about there is the welfare
   12   cost associated with matters such as this     12     effects of marketing, and that is a separate
   13   one. And so that would suggest that that      13     question than the one that we're discussing
   14   kind of marketing must be more profitable     14     here.
   15   than marketing to other physicians.           15         Q. It's the same issue that we've
   16            I think this is -- it depends        16     been going around on, right? You're not
   17   on what assumptions we're making about the 17        looking at the welfare, you're not looking at
   18   intention and knowledge of the various        18     the quality; you're just looking to see if
   19   actors. So I think it could go either way.    19     there's a correlation between detailing
   20       Q. But within your model, within          20     visits as a stock of promotion against
   21   the time periods of your model, you treat     21     MMEs --
   22   each of the details equally because in your   22              MR. SOBOL: Objection, asked
   23   view, you assume them all to be equally       23         and answered.
   24   unlawful at this point in time?               24     BY MR. ROTH:
   25            MR. SOBOL: Objection.                25         Q. -- on an aggregate basis.

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    1            MR. SOBOL: And there's a lot            1   about whether that generates more sales at
    2       in there, so be careful.                     2   the beginning or more sales at the end.
    3       A. I just want to say that the               3            There again, they're really
    4   sentence that you just said had a number of      4   focused on this are you getting a new unit
    5   pieces that I think are entirely unrelated to    5   from a patient who hasn't been treated versus
    6   one another.                                     6   a new unit from a rival.
    7            So a welfare analysis is -- is          7        Q. Got it.
    8   an economic analysis that is based on the        8            MR. ROTH: I think now is a
    9   theory of demand and is -- is specific to        9        decent time to take lunch.
   10   this idea that consumers make rational          10            THE WITNESS: Okay.
   11   decisions, so what he's talking about in this   11            THE VIDEOGRAPHER: The time is
   12   sentence really has nothing to do with this     12        12:09 p.m. We're now off the record.
   13   question about the quality of detailing or      13            (Recess taken, 12:09 p.m. to
   14   not.                                            14        12:51 p.m.)
   15            That sentence is not connected         15            THE VIDEOGRAPHER: The time is
   16   to the "thus detailing plays a role in          16        12:51 p.m. We're back on the record.
   17   educating providers." They have a marketing     17   BY MR. ROTH:
   18   theory that you related before about what       18        Q. Professor Rosenthal, before
   19   happens early versus late in the life cycle,    19   lunch we were talking about how your stock of
   20   but this last sentence is really just about     20   promotion just includes detailing visits
   21   are consumers better off because of             21   multiplied by a coefficient as a single
   22   promotion, or not.                              22   variable; is that correct?
   23            And the way economists do a            23        A. Just to be perfectly clear,
   24   welfare analysis like this one is to assume     24   it's a cumulative sum of detailing in one
   25   that consumers are perfectly informed and       25   period -- all the preceding periods with the
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    1   perfectly rational and that if marketing is      1   depreciation rate applied.
    2   only about stealing market share and it        2          Q. Are you aware that there are
    3   doesn't increase the size of the market, that  3     other economic studies of the effect of
    4   consumers are worse off. But if it does        4     marketing that model detailing using multiple
    5   increase the size of the market, that          5     variables?
    6   consumers are better off.                      6          A. I know that detailing has been
    7            As a health economist and a           7     modeled as both a stock and a flow, and both
    8   person who sits in the School of Public        8     at the same time. I don't know if that's to
    9   Health, I would like to say that if this       9     what you're referring.
   10   marketing was only about market expansion, as 10          Q. It may be.
   11   it seems to have been quite a bit about       11              (Whereupon, Deposition Exhibit
   12   market expansion, I don't think consumers are 12          Rosenthal-7, 2002 Azoulay Publication,
   13   better off as a result. They're just          13          was marked for identification.)
   14   operating from a totally different framework. 14     BY MR. ROTH:
   15   BY MR. ROTH:                                  15          Q. So let me mark as Exhibit 7 the
   16        Q. Okay. Let's go back to the            16     Azoulay study, Do Pharmaceutical Sales
   17   first sentence, which I think was more        17     Respond to Scientific Evidence.
   18   relevant.                                     18              Do you have that in front of
   19            They theorized that based on         19     you?
   20   their results, there is a difference between  20          A. I do.
   21   marketing early in the life cycle and         21          Q. And the Azoulay study is a
   22   marketing later in the life cycle?            22     document that I think you quote from and --
   23        A. They are positing a theory            23     in your report and rely on in your
   24   about the intent of marketing and the focus   24     attachment.
   25   of marketing, but they do not say anything    25          A. That's correct.
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    1       A. Yes.                                     1   form of a memo from Mr. McCluer to you and
    2       Q. There's a patch, right?                  2   Mr. Sobol?
    3       A. Yes.                                     3       A. I'm not sure I can answer that
    4       Q. There's that sublingual spray?           4   question.
    5       A. Yes.                                     5       Q. But it sounds like the errors
    6       Q. And then there's pills and               6   were identified some by you and some by the
    7   injectables, for example?                       7   staff?
    8       A. Yes.                                     8       A. Yes, that's correct.
    9           MR. SOBOL: Film.                        9       Q. Do you know who caught the
   10   BY MR. ROTH:                                   10   Table 3 error?
   11       Q. Film?                                   11       A. That was me.
   12       A. Yes, I'm aware that there are           12       Q. I feel bad for the staff on
   13   different formulations.                        13   that one. And what about the --
   14       Q. And there's also                        14       A. I'm not the yelling type.
   15   immediate-release opioids and                  15       Q. And what about the statistical
   16   extended-release opioids, correct?             16   significance error, was that you or the
   17       A. Yes, that's correct.                    17   staff?
   18       Q. And for the purpose of your             18       A. That was the staff.
   19   models, apart from the injectables, all of     19       Q. Let's turn to your indirect
   20   those various forms of opioids are included?   20   model.
   21       A. Yes, that's correct.                    21       A. Okay.
   22       Q. Did the manufacturers'                  22       Q. So you talk about your indirect
   23   marketing budgets that you reviewed show       23   model beginning at paragraph 78 of your
   24   increased marketing spending over time?        24   report.
   25       A. As I sit here, I don't recall.          25            And I guess just taking a step
                                            Page 523                                             Page 525
    1       Q. Would you agree that if the              1   back before we get into specifics: Do you
    2   depreciation rate augments the stock of         2   have a preference for your direct over your
    3   detailing over time, it would be irrational     3   indirect model in this case?
    4   to keep spending money on promotion?            4       A. I believe they have strengths.
    5            MR. SOBOL: Objection.                  5   Each of them has strengths, so in my
    6       A. No, I don't think that that              6   opinions, I have not favored one over the
    7   would be a conclusion that I would agree        7   other.
    8   with.                                           8       Q. In general when you perform
    9   BY MR. ROTH:                                    9   regression analysis, do you have any
   10       Q. And why not?                            10   preference for a direct approach versus an
   11       A. The more effective your                 11   indirect approach?
   12   marketing is, the more you want to spend on    12       A. No preference. I think these
   13   it.                                            13   kinds of models are really context specific.
   14            MR. SOBOL: An answer I                14       Q. And if you look at page 53,
   15       understood.                                15   paragraph 78, you start by saying: As noted
   16   BY MR. ROTH:                                   16   earlier, the direct method of estimation is
   17       Q. We spoke briefly about your             17   limited in part by the extent to which we can
   18   errata yesterday. Can you just tell me how     18   measure and include in the models all of the
   19   did that errata come about?                    19   tactics allegedly employed by defendants,
   20       A. That came about from review             20   including manipulation of various
   21   partly, my very careful review as I was        21   professional societies and accrediting
   22   preparing for this deposition, and the staff   22   bodies.
   23   doing the same.                                23             Did I read that correctly?
   24       Q. Got it.                                 24       A. Yes, you did.
   25            And then why did it come in the       25       Q. And that's based on the
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    1   allegations that you reviewed?                   1        of this somewhere?
    2       A. That's correct.                           2             THE WITNESS: Not in my report.
    3       Q. Would you agree that if a                 3             MR. ROTH: Just for you. I
    4   defendant did not engage in promotion other      4        don't think we've seen that. I would
    5   than the detailing measured by the IPS data,     5        love to see it.
    6   the direct model would be a more appropriate     6   BY MR. ROTH:
    7   measure of that particular defendant's impact    7        Q. So looking at the two tables
    8   on the aggregate MMEs?                           8   next to each other, I guess just first taking
    9
   10
   11
   12
   13
            A. My assignment was to calculate
        aggregate impact, so I have not considered
        how to calculate impact for a single
        defendant.
                 As we talked about yesterday, I
                                                         9
                                                        10
                                                        11
                                                        12
                                                        13
                                                                          -
                                                             the bottom line, in Table 2, the direct Model
                                                             B estimates that

                                                                       Do you see that?
                                                                  A. Yes.
                                                                                       of MMEs are
                                                             attributable to defendants' detailing.


   14
   15
   16
   17
        think there are some complicated questions
        about how to deal with the spillover effect,
        so I have not undertaken to do that.
            Q. As we've discussed fairly
                                                        14
                                                        15
                                                        16
                                                        17
                                                                           -
                                                                  Q. And in Table 5, the indirect
                                                             method suggests that          of MME shipments are
                                                             attributable to defendants' detailing; is
                                                             that right?
   18
   19
   20
   21
   22
        exhaustively, your direct Model B explains
        over 99% of the variation in MME sales based
        on the detailing data in IQVIA.
            A. Yes, it does.
            Q. Does that not suggest that the
                                                        18
                                                        19
                                                        20
                                                        21
                                                        22
                                                             math works.
                                                                           -
                                                                  A. That's correct.
                                                                  Q. So that's a


                                                                       MR. SOBOL: Right.
                                                                                         delta -- well,
                                                             that's a bad question because that's not how


   23
   24
   25
        effect of all of these other types of
        promotion is negligible at best?
            A. It may well be the case that
                                                        23
                                                        24
                                                        25
                                                             BY MR. ROTH:
                                                                  Q. It's
                                                                         - -      higher -- well, the
                                                             numbers are what they are, but it's


    1
    2
                                             Page 527
        the amount of variation that is picked up by
        a broader measure of promotion would not be
                                                         1
                                                         2
                                                             and
                                                                 -•                    1111
                                                                        -- it's actually
                                                             if I'm doing the math right.
                                                                                                      Page 529
                                                                                             higher, I think,




                                                                 -
    3   so much more. The indirect model is              3        A. It is        percentage points or
    4   conceptually quite different, however.           4   about         higher than the direct estimate.
    5       Q. So if you compare Table 5,                5        Q. You said it better than I
    6   which is on page 61 -- let's take a step         6   could.
    7   back, lay some foundation.                       7            How is that possible given that
    8       A. Sure.                                     8   you had a 99% R-squared in the direct model
    9       Q. So Table 5 on page 61 is the              9   that your indirect model could estimate twice
   10   output of your indirect model, correct?         10   as much impact by defendants' promotion?
   11       A. It is.                                   11        A. As I mentioned, they are
   12       Q. Okay. We talked yesterday                12   conceptually very different kinds of
   13   about Table 2, which is the output of your      13   analyses, so whether or not detailing
   14   direct model and appears on page --             14   explains the vast majority of the variation
   15       A. Should I bend the corner so we           15   in sales, it does not account for -- it
   16   can go back and forth?                          16   accounts for a smaller percentage of total
   17       Q. Yes, good idea.                          17   sales, so the magnitude of effect is not the
   18           So I want to compare the direct         18   same thing as the amount of variation
   19   output in Table 5 on page 61 -- sorry, strike   19   explained, right?
   20   that.                                           20            And the indirect model takes
   21           I want to compare the indirect          21   the position that there are these long run
   22   model output in Table 5 on page 61 with the     22   factors that may -- that we can see are
   23   direct model output in Table 2 on page 51.      23   relevant to demand in -- across areas, and if
   24       A. Okay.                                    24   we extend those forward, looking at the
   25           MR. SOBOL: Do we have a graph           25   growth in MMEs only as a result of those
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    1   factors, that's another version of what the      1   of MMEs.
    2   world would have been like.                      2        Q. And you chose that because that
    3            It assumes, again, that the             3   was the earliest year available in ARCOS?
    4   drivers of the massive growth we saw were        4        A. Yes, that's correct.
    5   only related to defendant promotion, and so      5        Q. How did you construct the
    6   it allows defendant promotion to affect sales    6   explanatory variables you used in the
    7   in a broader way than the direct model does.     7   indirect model?
    8        Q. In the direct model, I believe           8        A. The explanatory variables come
    9   you went through 2018; is that right?            9   from a variety of sources that I think we
   10        A. Yes. There were differences in          10   reviewed at a very high level yesterday.
   11   data availability, so yes.                      11   They're county level -- we haven't exactly
   12        Q. Right. So that was what I was           12   talked about. So this is a county level
   13   going to ask you.                               13   cross-sectional analysis and we bring in data
   14            Direct goes through 2018,              14   from a variety of government economic sources
   15   indirect only goes through 2016?                15   and other sources to capture county-level
   16        A. Yes. And as I'm sure we'll get          16   information.
   17   to also, because the ARCOS data start in        17        Q. And we spoke about this a
   18   1997, I do, I backcast for '95 and '96, but     18   little yesterday with respect to Professor
   19   really I'm starting in 1997.                    19   Cutler.
   20        Q. Got it. So direct, you go '95           20        A. Yes.
   21   to 2018; indirect, you go from '97 to 2016.     21        Q. But the same question for you:
   22        A. That's correct.                         22   Why did you decide to use national data and
   23        Q. Okay. And that's just because           23   do a national model for direct regression,
   24   of just data limitations?                       24   but then do your indirect regression analysis
   25        A. That's correct.                         25   based on county-level data?
                                             Page 531                                            Page 533
    1       Q. If you had the other years, you           1             MR. SOBOL: Objection, asked
    2   would use them in the indirect model?          2         and answered.
    3       A. That's correct.                         3         A. Sure. The time series analysis
    4       Q. If you look at paragraph 82 of          4     that I did is appropriately done at the
    5   your report, you describe your indirect model 5      national level. We're trying to calculate
    6   as a form of residual analysis.                6     national aggregate impact and the factors
    7            Do you see that?                      7     that drive sales over time make sense to do
    8       A. Yes.                                    8     in -- at a national level there. We don't
    9       Q. And can you explain what a              9     have promotional data at a county level, so
   10   residual analysis is?                         10     it would not be possible to do a direct model
   11       A. Well, a residual is the                11     at this level.
   12   leftover part, and so a residual analysis is  12               On the other hand, and this is
   13   an analysis that draws inferences not from    13     why the indirect model complements the direct
   14   something included, but something excluded. 14       model, we can look cross-sectionally at
   15       Q. Sort of like in accounting,            15     variation in these socioeconomic and
   16   when you depreciate something, what's left 16        demographic variables because there's a fair
   17   after you've depreciated it is the residual?  17     amount of cross-sectional variation, and get
   18       A. Is it? Yeah, perhaps.                  18     reasonably precise estimates of the effect of
   19       Q. Except if the depreciation             19     those factors on MMEs.
   20   somehow appreciates, but we won't go there 20                  And so the cross-sectional
   21   again.                                        21     model works at the county level, and then
   22            What is the baseline of your         22     rather than having to estimate the effects of
   23   indirect model?                               23     those variables over time, we can trend them
   24       A. The baseline for the indirect          24     forward based on the cross-sectional
   25   model as I just mentioned is the 1997 level   25     analysis.

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